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AO 458 (Rev. 01/09) Appearance



                                 United States District Court
                                             for the

                   WESTERN                DISTRICT OF                 OKLAHOMA


UNITED STATES OF AMERICA,                       )
                                                )
                   Plaintiff,                   )
                                                )
                   -vs-                         )        No. CR-08-062-D
                                                )
D’ANGELO TYREE McCORVEY,                        )
                                                )
                   Defendant.                   )


                                   APPEARANCE OF COUNSEL

To:      The Clerk of Court and all parties of record:

         I am authorized to practice in this Court, and I appear in this case as counsel for:

the plaintiff, United States of America.

         I am registered to file documents electronically with this Court.


Date: April 29, 2020
                                                s/DAVID MCCRARY
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                             CERTIFICATE OF SERVICE

       I hereby certify that on April 29, 2020, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to the following ECF registrants: William P. Earley


                                                s/DAVID MCCRARY
                                                Assistant U.S. Attorney




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